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 6                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 7                                    AT SEATTLE
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 9   UNITED STATES OF AMERICA,
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                          Plaintiff,
11                                                          CASE NO. C00-890JLR
            v.
12                                                          ORDER
     RSR CORPORATION, et al.,
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14
                          Defendants.

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16                                      I. INTRODUCTION
17          This matter comes before the court on a slew of motions in limine from
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     Defendants RSR Corporation (“RSR”), Quemetco, Inc. (“Quemetco”), and Quemetco
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     Realty, Inc. (“Quemetco Realty”) (Dkt. ## 102-106) and the United States
20
     (“Government”) (Dkt. ## 96, 98-100). After considering the parties’ briefing and
21
22   supporting documentation, the court GRANTS and DENIES the motions as stated below.

23                                      II. BACKGROUND
24          The court has summarized the factual background of this action in previous orders.
25   Other than a dispute over whether Defendants are “operators” (as CERCLA defines the
26   term) of the lead smelter in question, Defendants’ liability is no longer in dispute. It
27
     appears that the focus at trial will be Defendants’ efforts to show that the Government has
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 1   inaccurately assessed the costs it seeks to recover, and to establish affirmative defenses
 2   that may reduce the amount that the Government can recover. These motions center on
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     witnesses and evidence the parties will use to address those issues at a bench trial
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     beginning October 17, 2005.
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                                           III. ANALYSIS
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     A.     The Parties’ Motions to Exclude Expert Testimony Are Premature.
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 8          1.     The Parties Have Failed to Consider the Differences Between Offering
                   Expert Testimony in a Bench Trial and a Jury Trial.
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            In six of the nine motions before the court, the parties argue for at least partial
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     exclusion of testimony from various expert witnesses. In each of the six motions, the
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12   parties repeat the standards for admission of expert testimony from Daubert v. Merrell

13   Dow Pharms., Inc., 509 U.S. 579 (1993), and its progeny. Those cases establish a trial
14   court’s duty to sit as a “gatekeeper” to prevent a witness from misleading the jury by
15   offering unreliable testimony cloaked in the aura of court-sanctioned expertise. See, e.g.,
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     id. at 596-97; Mukhtar v. Cal. State Univ., Hayward, 319 F.3d 1073, 1074 (9th Cir. 2003)
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     (explaining “Daubert’s requirement that some reliability determination must be made by
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     the trial court before the jury is permitted to hear the evidence”), amending 299 F.3d
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     1053 (9th Cir. 2002). In a bench trial, the gatekeeper and the trier of fact are the same,
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21   raising the metaphysical question of how a trial court can simultaneously perform its

22   gatekeeping function and keep unreliable expert testimony from itself.
23          Numerous courts have recognized that the Daubert mandate operates differently in
24   a bench trial. E.g., Weber v. Eco-Adventures, Inc., No. 02-00596 ACK/BMK, 2004 U.S.
25
     Dist. LEXIS 27485, at *3-5 (D. Haw. Apr. 2, 2004) (citing cases); Volk v. United States,
26
     57 F. Supp. 2d 888, 896 n.5 (N.D. Cal. 1999). While the court sitting as the trier of fact
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     may not ignore the Daubert standards for assessing the reliability of testimony, it need not
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 1   make those determinations before hearing the testimony. See Jones v. United States, 127
 2   F.3d 1154, 1156 (9th Cir. 1997) (noting that district court had not ruled on Daubert
 3
     motion until after the bench trial); Gonzales v. National Bd. of Med. Examiners, 225 F.3d
 4
     620, 635 (6th Cir. 2000). When the court sits as trier of fact, it has much greater
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     flexibility to admit expert testimony and give it the weight to which it is entitled. As one
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     court reasoned:
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 8          Under Daubert, . . . the better approach in this bench trial is to admit the
            testimony of all of the recognized experts that it permitted to testify and, in
 9          the words of the Supreme Court, allow ‘vigorous cross-examination,
            presentation of contrary evidence’ and careful weighing of the burden of
10          proof to test ‘shaky but admissible evidence.’ [509 U.S. at 596.] . . . [T]he
            court’s concerns about the usefulness of various portions of the scientific
11          testimony more appropriately can be addressed through determination of
12          the weight to be accorded the testimony, rather than through the threshold
            determination of admissibility.
13
     Fierro v. Gomez, 865 F. Supp. 1387, 1395 (N.D. Cal. 1994), vacated on other grounds by
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     519 U.S. 918 (1996), vacated on remand on other grounds by 147 F.3d 1158 (9th Cir.
15
     1998). The court finds this to be a prudent approach to carrying out the Daubert
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17   marching orders in a bench trial, and will adopt it in this action. If, after hearing a

18   witness’s testimony, the court finds that it falls short of the Daubert standards, the court
19   will give it no weight.
20          2.     The Court Will Permit the Testimony of Every Expert That the Parties
21                 Challenge, Subject to Later Consideration of Their Testimony Under
                   Daubert.
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            With these guidelines in mind, the court turns to the six motions challenging
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     expert testimony. For the most part, the court denies these motions without prejudice to
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25
     the parties renewing them after hearing from the experts at trial. To assist the parties, the

26   court offers the following comments regarding its initial view of the admissibility of each
27   expert’s testimony.
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 1          The Government’s motion to exclude the testimony of Dr. Richard Martin raises
 2   precisely the sort of question that is better, in a bench trial, to decide after hearing his
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     testimony. Dr. Martin seeks to support Defendants’ position that the court should
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     allocate some of the response costs to another lead smelter on Harbor Island. The court
 5
     will be better equipped to resolve the parties’ debate over the validity of his estimates of
 6
     the amount of lead the other smelter emitted after his testimony and cross-examination.1
 7
 8          The same comments apply to Defendants’ motions to exclude the testimony of

 9   Steven Fuller and Wiley Wright. Mr. Fuller’s testimony supports the Government’s
10   contention that it is impossible to divide response costs because of the commingling of all
11   sources of lead pollution on Harbor Island. Although he offered other opinions in his
12
     expert report, the Government states that it will only rely on his opinion that lead from
13
     multiple sources was inextricably commingled on Harbor Island. Defendants argue that
14
     even if multiple sources of lead commingled at the SGOU, it is still possible to divide
15
     response costs. Even assuming the truth of this contention as a matter of fact or of law, it
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17   provides no basis for excluding Mr. Fuller’s testimony. The court will hear his

18   testimony, subject to later review under Daubert standards.
19          Mr. Wright is an accountant who prepared a report after auditing the
20   Government’s apportionment of costs between the SGOU and other operating units on
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     Harbor Island. Defendants ask the court to exclude his testimony because after preparing
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     his report, he deleted certain cost items upon reviewing his report in response to
23
     questioning at his deposition, and then provided a new report. Defendants insist that his
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25          1
             The court denies Defendants’ motion to strike the Government’s motion regarding Dr.
26   Martin. Although the Government’s motion is overlong, and circumvents the court’s rules
     regarding motions in limine, the court prefers to decide this matter on its merits. As the court has
27   noted in previous orders, Defendants have also used improper tactics to circumvent the court’s
28   page limits.


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 1   report is untimely, but the court disagrees. Mr. Wright acted precisely as an expert
 2   should. Faced with new information regarding his opinions, he reconsidered, and offered
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     an updated report that was identical to his original one but for his responses to the new
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     information. Moreover, the court sees no reason that Mr. Wright’s change in his report
 5
     would disqualify his testimony under Daubert. Finally, Defendants object that Mr.
 6
     Wright has no basis for assessing the validity of approximately $3 million in indirect
 7
 8   response costs that the Government incurred at the SGOU. Mr. Wright admits as much in

 9   his expert report, but it does not appear to the court that the Government intends to rely
10   on Mr. Wright to support its indirect costs figure.
11          The challenged testimony of Dr. Walter Shields barely passes the admissibility
12
     hurdle. Among other subjects, Dr. Shields will testify in support of Defendants’
13
     contention that the court should reduce the costs the Government seeks because they were
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     incurred solely in responding to organic pollutants, not lead pollution. On the record
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     before the court, Dr. Shields’ methodology is suspect. To arrive at his calculations, Dr.
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17   Shields calculated the ratio of costs for analyzing organic pollutants to the costs of

18   analyzing inorganic pollutants. He then applied this ratio to all costs the Government
19   incurred at the SGOU, the majority of which have nothing to do with analysis. Dr.
20   Shields will have to present a compelling basis for this extrapolation in order to clear the
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     Daubert hurdle,2 but the court will permit him to attempt to do so at trial.
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            2
24            It appears that a portion of the parties’ dispute over Dr. Shields’ testimony relates to
     what standard Defendants must meet to establish the affirmative defense that the harm their
25   smelter caused at the SGOU is divisible from other harms. Defendants implicitly contend that Dr.
     Shields’ approximations are sufficient, whereas the Government contends that Defendants must
26
     meet a much higher standard of precision. The court has directed the parties to address the
27   standard of proof for divisibility of harm in their trial briefs or other pretrial submissions, and
     expects that this will assist the court in determining whether to credit Dr. Shields’ methodology
28   and testimony.

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 1           The Government’s motion to exclude Jeff Teitel, an environmental consultant and
 2   lawyer, is largely well taken. Mr. Teitel’s “expert report” contains an argument regarding
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     the Government’s allocation of costs between the SGOU and the Sediment Operating
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     Unit on Harbor Island. Mr. Teitel’s report might have made for a compelling motion for
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     summary judgment, but it has few of the hallmarks of an expert report. On the record
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     before it, the court sees no reason to treat Mr. Teitel as an expert rather than an attorney.
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 8   Although the court will permit Defendants to introduce his testimony at trial, the court

 9   will not permit him to opine on the law or to make a lawyer’s arguments from the witness
10   stand. Moreover, Mr. Teitel’s qualifications as an “environmental consultant” do not
11   appear, on the record before the court, to provide him with a basis for opining regarding
12
     the Government’s cost accounting at the SGOU. As the Government points out, Mr.
13
     Teitel is not an accountant. Unless Mr. Teitel presents his trial testimony in a manner
14
     substantially different than in his expert report, his testimony will be very brief.
15
             Finally, the court declines to exclude the testimony of Charles Young. He intends
16
17   to testify in support of the Government’s methodology for calculating indirect

18   enforcement costs attributable to the SGOU. Defendants claim that he should not testify
19   because he has no opinions based on the costs the Government is claiming. The
20   Government disagrees. The court finds that the parties can better illuminate this dispute
21
     at trial.
22
     B.      The Court Denies Defendants’ Remaining Motions.
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             In two of the remaining motions, Defendants ask the court to exclude evidence
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     without identifying the evidence they attack. One seeks the exclusion of evidence “not

26   produced or disclosed.” The court generally does not admit evidence that a party
27   requested during discovery but did not receive. There are exceptions to this rule, but the
28   court has no basis to consider their application here, as Defendants have pointed to no

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 1   specific evidence that the Government intends to introduce in violation of the rule.
 2   Defendants refer to the late-filed evidence the Government relied upon to avoid summary
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     judgment on statute of limitations grounds, but the court has already noted that this
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     evidence was available to Defendants (and the general public) in the administrative
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     record for the SGOU, and has already relied on it in denying Defendants’ summary
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     judgment motion.
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 8           The second motion requests that the court bar testimony from Government

 9   witnesses whose deposition testimony conflicts with other discovery responses. Again,
10   with one exception,3 Defendants do not point to specific evidence. The court notes that,
11   in general, impeachment on cross-examination is the remedy for a witness whose
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     testimony is inconsistent with prior discovery responses. The court finds no basis for
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     excluding the testimony rather than having Defendants employ this remedy.
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     C.      The Court Grants the Government’s Remaining Motion.
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             The Government moves for leave to admit its summary of enforcement costs as a
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17   compilation of voluminous records under Fed. R. Evid. 1006. Defendants do not oppose

18   the motion. The Government has shown that the summary meets the requirements of
19   Rule 1006. The court therefore grants the motion.
20                                          IV. CONCLUSION
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             For the reasons stated above, the court grants and denies the motions before it as
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     follows:
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              The court addressed Defendants’ objections to the allegedly inconsistent deposition
25   testimony of the Government’s Fed. R. Civ. P. 30(b)(6) representative in its prior summary
26   judgment order, and declines to repeat that discussion here. To the extent the Defendants
     continue to insist that the representative improperly backed away from his testimony that certain
27   actions at the SGOU were “remedial” rather than “removal” under CERCLA, the court’s ruling
     on summary judgment moots the issue. The court also declines to address Defendants’ judicial
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     estoppel argument regarding this testimony, as they raised it for the first time in their reply brief.

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 1          The court DENIES the parties’ motions targeting expert testimony (Dkt. ## 96, 98,
 2   100, 102, 104, 105), subject to the court’s discussion in this order and without prejudice
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     to renewing the motions after hearing the experts’ testimony at trial.
 4
            The court DENIES Defendants’ remaining motions (Dkt. ## 103, 106).
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            The court GRANTS the Government’s remaining motion (Dkt. # 99).
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            DATED this 4th day of October, 2005.
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10
                                                      A
                                                      JAMES L. ROBART
                                                      United States District Judge
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